           Case 2:20-cv-00036-MKD                   ECF No. 17        filed 01/08/21       PageID.1909 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the_                                          FILED IN THE
                                                     Eastern District of Washington                             U.S. DISTRICT COURT
                                                                                                          EASTERN DISTRICT OF WASHINGTON

                          SHAWN T.,
                                                                                                              Jan 08, 2021
                                                                     )
                                                                                                               SEAN F. MCAVOY, CLERK
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 2:20-cv-00036-MKD
                                                                     )
  ANDREW M. SAUL, COMMISSIONER OF SOCIAL
                SECURITY,                                            )

                            Defendant

                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

’ the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

’ the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: Plaintiff’s Motion for Summary Judgment (ECF No. 14) is DENIED.
’
              Defendant’s Motion for Summary Judgment (ECF No. 15) is GRANTED.
              JUDGMENT is entered in favor of Defendant.



This action was (check one):
’ tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

’ tried by Judge                                                                          without a jury and the above decision
was reached.

✔
’ decided by Judge             MARY K. DIMKE                                                   on motions for
      Summary Judgment (ECF Nos. 14 and 15)


Date: 01/08/2021                                                           CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Allison Yates
                                                                                          (By) Deputy Clerk

                                                                            Allison Yates
